       Case 5:24-cv-00067-TES        Document 27         Filed 12/02/24    Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
                                    MACON DIVISION

 TRAVIS D LAW, et al,                              *

                      Plaintiffs,                  *
 v.                                                    Case No. 5:24-cv-00067-TES
                                                   *
 OLD DOMINION FREIGHT LINE INC, et al,
                                                   *
                   Defendants.
 ___________________________________               *


                                     JUDGMENT

      Pursuant to this Court’s Order dated December 2, 2024, and for the reasons stated therein,

JUDGMENT is hereby entered dismissing this case.

       This 2nd day of December, 2024.

                                           David W. Bunt, Clerk


                                           s/ Raven K. Alston, Deputy Clerk
